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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

               v.
                                                    Crim. No. 19-cr-10080-NMG-MPK
 DAVID SIDOO, et al.,

                           Defendants.


                                      FINAL STATUS REPORT

       Pursuant to Local Rule 116.5(c), the parties hereby file the following status report prepared

in connection with the Final Status Conference on May 5, 2020.

(1)    Whether the Defendants Request Transfer of the Case for a Rule 11 Hearing

       At this time, no defendant is requesting a transfer to the district court for a Rule 11 hearing.

(2)    Whether, Alternatively, the Parties Move for a Pretrial Conference Before the
       District Court

       A pretrial status conference before the district court is currently scheduled for July 28, 2020

at 3:00 p.m.

       (A)          Status of Discovery

       On or before May 5, 2020, the government will produce any remaining materials set forth

in the status report filed on April 9, 2020 (see Dkt. 1071, as modified by the Court during the April

9, 2020 status conference). To the extent the government acquires additional materials after May

5, 2020 that are required to be produced under Local Rule 116.2(b)(2), the government will

produce those forthwith. Defendants proceeding to trial commencing on or about September 29,

2020 have agreed to provide reciprocal discovery on or before July 17, 2020 (Dkt. 929).
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         (B)     Discovery Requests and Motions

         On April 17, 2020, Defendant Abdelaziz filed a motion to compel the government to

produce (i) all of William “Rick” Singer’s telephone calls on or after September 27, 2018; (ii) all

of Singer’s email communications on or after September 29, 2018; and (iii) all discoverable

materials taken from extractions of Singer’s Apple iPhone 7+, Dell computer, Mac laptop, LG

phone, and Apple Watch. The parties believe that this motion is now moot because the government

has indicated that it will produce the requested materials. The government will file a brief

response, noting this, by Friday, May 1, 2020.

         Defendants have indicated that they may have further discovery motions after reviewing

the government’s productions through May 5, 2020. The government is committed to resolving

any remaining discovery disputes. Per the Court’s order at the April 9, 2020 status conference,

Defendants will file any remaining discovery motions by May 22, 2020, and the government will

have until June 5, 2020 to respond.

         (C)     Fed. R. Crim. P. 12(b) Motions

         Defendants filed 18 motions under Fed. R. Crim. P. 12(b) on March 31 and April 1, 2020. 1

The government will file its oppositions to eight of those motions on April 30, 2020. The

government will file an omnibus response to the remaining motions on or before May 8, 2020.

Dkt. 1129. The defendants’ replies are due on May 15, 2020. The defendants will seek leave to

file replies to the May 8 filing only on or before May 24.

         (D)     Excludable Delay

         The 70-day period specified in 18 U.S.C. § 3161(c)(1) commenced on April 3, 2019 as to

the Colburn Defendants, and April 9, 2019 as to the remaining Defendants. In Orders entered



1
    The Colburn motion to dismiss was filed in April 2019.


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March 18, 2019, April 3, 2019, April 9, 2019, April 29, 2019, June 3, 2019, October 2, 2019, and

January 17, 2020, the Court has excluded all time between March 15, 2019 and May 5, 2020 under

the Speedy Trial Act. See Dkts. 25, 124, 129, 370, 394, 577, & 745.

       The parties have conferred and ask that the Court exclude the period of time from the time

of the final status conference on May 5, 2020 to the time of the scheduled July 28, 2020 pretrial

conference, under 18 U.S.C. § 3161(h)(1)(D), while Defendants’ motions to dismiss and suppress

are pending, and 18 U.S.C. § 3161(h)(7)(A), to permit Defendants time to review discovery, confer

with their respective counsel, and prepare for trial. The ends of justice served by this exclusion

outweigh the interests of the public and each Defendant in a speedy trial.

       (E)     Estimated Number of Trial Days

       The Government currently estimates that its case-in-chief would take approximately three

to six weeks, assuming three-quarter-day sessions.

(3)    Other Matters Particular to the Case

       (A)     Whether Any Defendant Intends To Raise a Defense of Insanity or Public Authority

       No Defendant intends to raise a defense of insanity or public authority.

       (B)     Timetable Regarding Expert Disclosures

       The government will provide any expert witness disclosures 90 days prior to trial, and the

Defendants will provide any expert witness disclosures 60 days prior to trial. Rebuttal experts

should be noticed 30 days prior to trial.




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Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE

        I, Eric Rosen, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on May 1, 2020.

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